Case 1:14-cv-01611-LO-JFA Document 1021 Filed 08/24/18 Page 1 of 5 PageID# 25940




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


   BMG RIGHTS MANAGEMENT
  (US)LLC,and ROUND HILL
   MUSIC LP


                  PlaintifTs,

          V.                                            Case No. l:14-cv-1611(LO/JFA)

   COX COMMUNICATIONS,INC.,
   COXCOM,LLC
                  Defendants.



                      STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii), Plaintiff BMG Rights

   Management(US)LLC and Defendants Cox Communications, Inc., and CoxCom,LLC, by and

   through their respective counsel, hereby stipulate and agree that this action shall be dismissed

   with prejudice and without costs to any party. The parties request that the Court enter the below

   proposed Order dismissing this action with prejudice and without costs to any party.
Case 1:14-cv-01611-LO-JFA Document 1021 Filed 08/24/18 Page 2 of 5 PageID# 25941
Case 1:14-cv-01611-LO-JFA Document 1021 Filed 08/24/18 Page 3 of 5 PageID# 25942
Case 1:14-cv-01611-LO-JFA Document 1021 Filed 08/24/18 Page 4 of 5 PageID# 25943
Case 1:14-cv-01611-LO-JFA Document 1021 Filed 08/24/18 Page 5 of 5 PageID# 25944
